               Case 22-03126 Document 42 Filed in TXSB on 03/16/23 Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re                                              §
                                                   §
                                                                                            No. 20-35493
1960 FAMILY PRACTICE PA,                           §
                                                                                              Chapter 7
                                                   §
                           Debtor.                 §
                                                   §
EVA S. ENGELHART, CHAPTER 7                        §
TRUSTEE,                                           §
                     Plaintiff,                    §
                                                   §
v.                                                 §
                                                                                  Adversary No. 22-03126
                                                   §
DOCTORS HOSPITAL 1997 LP d/b/a UNITED              §
MEMORIAL MEDICAL CENTER,                           §
                    Defendants.                    §



Judge:   Hon. Eduardo V. Rodriguez                      Parties: Doctors Hospital 1997 LP d/b/a United
Date:    TBD                                                     Memorial medical Center
Time:    TBD                                            Atty.:   Leonard H. Simon &
                                                                 William P. Haddock
                                                        Tel.:    713-528-8555
                                                        Mobile: 713-298-2168


WITNESSES:                                              Re:     Trial on Merits
  • Ravishankar Mallapuram
  • Yoni Gerber
  • Jose Bello
  • Designated representative with knowledge
    of relevant facts for FM 1960 Medical
    Vo;;age Physicians, L.P.
  • Designated representative with knowledge
    of relevant facts for Cypress MOB, LLC.
  • Designated representative with knowledge
    of relevant facts for WFMC 2016-C34
    Northwest Freeway, LLC,
  • Miriam Goot
  • Dr. Huong Le
  • Eva S Engelhart
  • Benjamin Joseph Lusky


                                               Page 1 of 3
               Case 22-03126 Document 42 Filed in TXSB on 03/16/23 Page 2 of 3




 •    Huong T. Le Nguyen
 •    Witnesses designated by other parties
 •    Witnesses needed for rebuttal whose
      testimony cannot be reasonably anticipated
      prior to the hearing


                                      EXHIBIT & WITNESS LIST


No.                       Description                            Offered   Objection   Admitted

1     First Least

2     Second Lease

3     Amendment of First Lease

4     Amendment to Second Lease

5     Demand by Landlord

6     APA

7     Demand Letter to UMMC

8     Second Demand Letter

9     Trustee's Original Complaint

10    Demand Ltr From LL to UMMC

11    LL Amended Petition in State Court

12    Sale Agreement

13    Order Approving Sale Agreement

14    Trustee's Original Complaint

15    Answer

16    SO Resolving Objection to Claim




                                                   Page 2 of 3
               Case 22-03126 Document 42 Filed in TXSB on 03/16/23 Page 3 of 3




 No.                        Description                            Offered          Objection    Admitted

       Exhibits designated by other parties

       Exhibits needed for rebuttal which cannot be
       reasonably identified prior to the hearing


                                                             Respectfully Submitted,

                                                             Pendergraft & Simon, LLP

                                                             /s/ Leonard H. Simon
                                                             Leonard H. Simon
                                                               Texas Bar No. 18387400
                                                               S.D. Tex. Adm. No. 8200
                                                             William P. Haddock
                                                               Texas Bar No. 00793875
                                                               S.D. Tex. Adm. No. 19637
                                                             2777 Allen Parkway, Suite 800
                                                             Houston, TX 77019
                                                             Tel. (713) 528-8555
                                                             Fax. (713) 868-1267

                                                             Counsel for Doctors Hospital 1997 LP d/b/a United
                                                             Memorial Medical Center



                                              Certiﬁcate of Service

I hereby certify that a true and correct copy of the above Exhibit List has been served on all counsel/parties
appearing through the Court’s CM/ECF system in accordance with the Fed. R. Bankr. P. 7005 and local rules for
ECF service on this 16th day of March 2023:

                                                             /s/ Leonard H. Simon
                                                             Leonard H. Simon




                                                    Page 3 of 3
